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 4
 5   Attorney for Defendant
     MINH HUYNH
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )      CR. NO. 99-433 WBS
                                     )
13                  Plaintiff,       )      EX PARTE REQUEST AND [PROPOSED]
                                     )      ORDER FOR SACRAMENTO COUNTY JAIL
14        v.                         )      LIBRARY VISITS
                                     )
15   MINH HUYNH,                     )
                                     )
16                  Defendant.       )
                                     )
17   _______________________________ )
18
          Defendant, Minh Huynh, is currently housed at the Sacramento County
19
     Main Jail.   Mr. Huynh has informed counsel that he needs to research his
20
     Supreme Court Writ at the Sacramento County jail law library. Further, Mr.
21
     Huyhn has informed counsel that he has made repeated requests to visit the
22
     law library, but he has not been allowed to visit it in over two months.
23
          Mr. Huynh is asking that the Court order the Sacramento County jail
24
     to allow him to visit the Sacramento County jail law library for 2 hours
25
     per week for the next six weeks to complete his Writ.
26
     Dated: March 19, 2009               Respectfully Submitted,
27
28                                       /s/Chris Haydn-Myer
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 1                                          CHRISTOPHER HAYDN-MYER
                                            Attorney for Defendant
 2                                          Minh Huynh
 3
                                         ORDER
 4
          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that defendant, Minh
 5
     Huynh, be allowed reasonable access to the Sacramento County jail law
 6
     library, but not necessarily for 2 hours per week for the next six weeks.
 7
     Counsel may assist him in completing his petition for Writ of Certiorari.
 8
          IT IS SO ORDERED.
 9
10
     DATED:     March 19, 2009
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